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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

WAYNE and ROXY GILLESPIE, husband             )     Cause No. CV19-51-BMM
                                              )
and wife, and TRAVELERS INDEMNITY             )
COMPANY OF CONNECTICUT as                     )
subrogee of Wayne and Roxy Gillespie,         )
                                              )
                                              )
                     Plaintiffs,              ) SECOND AMENDED COMPLAINT
                                              )
                                              ) AND DEMAND FOR JURY TRIAL
      vs.                                     )
                                              )
                                              )
THE TIMKEN COMPANY; CNH                       )
INDUSTRIAL AMERICA, LLC; and                  )
                                              )
JOHN DOES 1-10                                )
                                              )
                                              )
                     Defendants.              )
      COME NOW the above-named Plaintiffs, by and through their counsel of

record, and for their cause of action against Defendants, allege as follows:

                         JURISDICTION AND VENUE

      1.     Plaintiffs Wayne and Roxy Gillespie (“Gillespies”) are citizens of

Montana, residing in Toole County, Montana.


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      2.     Travelers Indemnity Company of Connecticut (“Travelers”) is an

insurance company organized and existing under the laws of the State of

Connecticut with its principle place of business located at 1 Tower Square,

Hartford, Connecticut, 06183. At all relevant times, Travelers provided insurance

coverage to the Gillespies.

      3.     Upon information and belief, The Timken Company is a

manufacturer, supplier, retailer, wholesaler, distributor, engineer, designer, and/or

purveyor of various bearings worldwide with its principle place of business in

Canton, Ohio. Upon information and belief, Fafnir is a brand owned by, and a

division within The Timken Company. Upon information and belief, The Timken

Company is registered as a corporation in the State of Ohio and is a citizen of the

State of Ohio.

      4.     Upon information and belief, CNH Industrial America, LLC is a

foreign limited liability company licensed to do business in Montana who is a

manufacturer, supplier, retailer, wholesaler, distributor, engineer, designer, and/or

purveyor of farm equipment including balers. Upon information and belief, CNH

Industrial America, LLC was incorporated in the State of Delaware with its

principle place of business in Wisconsin. CNH is a citizen of Delaware and

Wisconsin.




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      5.      The John Doe Defendants are various unidentified individuals,

organizations, or businesses who participated in the manufacture, supply, sale,

retail, wholesale, distribution, engineering, design, and/or marketing of the

defective product at issue in this lawsuit.

      6.      Jurisdiction is proper in this Court under 28 U.S.C. § 1332, diversity

of citizenship, because the amount in controversy exceeds $75,000.00, exclusive of

interest and costs, and the action is between citizens of this state and citizens of

foreign states.

      7.      The incident at issue in this case involved a baler fire in Toole

County, Montana, and as a result, venue is proper in the Great Falls Division of

this Court.

                                  ALLEGATIONS

      8.      The Gillespies purchased a new 2007 New Holland Round Baler,

model number BR780A (“Baler”), for use in their family ranching business.

      9.      The Gillespies used the Baler for baling hay and maintained the Baler

with regular service at Torgerson’s, LLC in Ethridge, Montana, and by personally

conducting service on their ranch.

      10.     On July 24, 2015, Wayne Gillespie was baling hay near the

intersection of North Ethridge Road and Long Cake Road which is approximately




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three miles north of Ethridge, Montana. Wayne was using the Baler when it

suddenly caught fire without warning.

       11.    The fire in the Baler quickly spread and resulted in a wildfire that

burned approximately 1,100 acres to the east of where Wayne was baling hay.

       12.    The Baler was destroyed and unusable as a result of the fire.

       13.    Following the fire, Gillespies notified their insurance carrier,

Travelers, of potential claims stemming from the fire.

       14.    As a result of the fire, multiple property owners asserted claims

against the Gillespies for damage to their property.

       15.    To date, Travelers has paid $262,742.12 on behalf of the Gillespies

for the claims asserted by various individuals for damage to their property as a

result of the fire.

       16.    Investigation following the fire revealed that the fire began as a result

of a defective bearing (the “Bearing”) on the Baler. The Bearing is identified as

FAFNIR SE40K.

       17.    The Bearing failed during its intended use on the Baler while

Gillespies were baling hay.

       18.    Upon information and belief, the Bearing was designed and

manufactured by Fafnir Bearings, which is a division within The Timken Company

(hereinafter, referred to collectively as “Timken”).


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      19.    Upon information and belief, the Bearing was installed on the Baler

by CNH Industrial America, LLC (“CNH”).

                                CAUSES OF ACTION

                             COUNT I: NEGLIGENCE
                                  (TIMKEN)

      20.    Plaintiffs reallege the allegations set forth in Paragraphs 1-19.

      21.    Timken owed a duty to Plaintiffs to design, engineer, manufacture,

assemble, market, distribute, and sell the Bearing at issue in a non-defective and

safe condition.

      22.    The Bearing was designed, engineered, manufactured, assembled,

marketed, distributed, and sold for the purpose of use on farm machinery, such as

the Baler at issue in this lawsuit.

      23.    Timken breached its duty when it designed, engineered,

manufactured, assembled, marketed, distributed, and sold the Bearing at issue in a

defective and unsafe condition.

      24.    Timken’s breach of its duty was the direct and proximate cause of the

fire and resulting damages at issue in this lawsuit.

      25.    As a result of Timken’s breach, Plaintiffs have suffered damages in an

amount to be proven at trial.




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                           COUNT II: NEGLIGENCE
                                   (CNH)

      26.    Plaintiffs reallege the allegations set forth in Paragraphs 1-25.

      27.    CNH owed a duty to Plaintiffs to design, engineer, manufacture,

assemble, market, distribute, and sell the Baler in a non-defective and safe

condition.

      28.    CNH breached its duty when it designed, engineered, manufactured,

assembled, marketed, distributed, and sold the Baler in an unreasonably dangerous

and defective condition.

      29.    CNH’s breach of its duty was the direct and proximate cause of the

fire and resulting damages at issue in this lawsuit.

      30.    As a result of CNH’s breach, Plaintiffs have suffered damages in an

amount to be proven at trial.

                COUNT III: STRICT PRODUCTS LIABILITY
                               (TIMKEN)

      31.    Plaintiffs reallege the allegations set forth in Paragraphs 1-30.

      32.    Timken did, in fact, design, manufacture, distribute, and sell the

Bearing at issue in an unreasonably dangerous and defective condition.

      33.    As a result of the defective design, engineering, manufacturing, and/or

original assembly of the bearing at issue, the Baler caught fire and caused the

resulting wildfire.


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      34.    The Bearing at issue was unfit and unsafe for its intended use and

purpose by reason of defects in design, engineering, manufacturing, original

assembly, and materials, in that the Bearing ultimately failed, which subsequently

resulted in the Baler catching fire.

      35.    Timken is strictly liable to Plaintiffs by reason of having designed,

engineered, manufactured, assembled, marketed, distributed, and sold the Bearing

in an unreasonably dangerous condition which was the direct and proximate cause

of Plaintiffs’ damages.

      36.    As a direct and proximate result of the defective Bearing, Plaintiffs

suffered damages and losses in an amount to be proven at trial.

                 COUNT IV: STRICT PRODUCTS LIABILITY
                                (CNH)

      37.    Plaintiffs reallege the allegations set forth in Paragraphs 1-36.

      38.    CNH did, in fact, design, manufacture, distribute, and sell the Baler at

issue in an unreasonably dangerous and defective condition.

      39.    As a result of the defective design, engineering, manufacturing, and/or

original assembly of the Baler at issue, the Baler caught fire and caused the

resulting wildfire.

      40.    The Baler at issue was unfit and unsafe for its intended use and

purpose by reason of defects in design, engineering, manufacturing, original



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assembly, and materials in that the Baler ultimately failed, which subsequently

resulted in the Baler catching fire.

      41.    CNH is strictly liable to Plaintiffs by reason of having designed,

engineered, manufactured, assembled, marketed, distributed, and sold the Baler

with its defective Bearing in an unreasonably dangerous condition, which was the

direct and proximate cause of Plaintiffs’ damages

      42.    CNH is strictly liable for the damages caused by the defective Bearing

in an amount to be proven at trial.

            COUNT V: NEGLIGENCE AND STRICT LIABILITY
                         (JOHN DOES 1-10)

      43.    Plaintiffs reallege the allegations set forth in Paragraphs 1-42.

      44.    Upon information and belief, Plaintiffs state that there may be other

persons or entities responsible for the damages which occurred to the Bearing and

Baler whom or which have not been fully identified at this point in time but may

be responsible for their direct negligence and strict liability.

                              PRAYER FOR RELIEF

      Having stated their causes of action, Plaintiffs Wayne and Roxy Gillespie

and Travelers Indemnity Company of Connecticut, as subrogee of Wayne and

Roxy Gillespie pray for judgement against the above-named Defendants as

follows:



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      1.    For monetary damages sufficient to compensate for all losses and

damages suffered by Plaintiffs;

      2.    For Plaintiffs’ cost of suit and interest as allowed by law; and

      3.    For such other and further relief as is just and appropriate.

                         DEMAND FOR JURY TRIAL

      The Plaintiffs hereby demand a trial on all issues so triable.

      DATED this 2nd day of August, 2019.

                                       BROWN LAW FIRM, P.C.


                                       BY     /s/ Adam M. Shaw
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                                              Missoula, MT 59802
                                              Attorneys for Plaintiffs




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                         CERTIFICATE OF SERVICE

            I hereby certify that on the 2nd day of August, 2019, a copy of the
foregoing was served on the following persons by the following means:

       1-3         CM/ECF                             Fax
                   Hand Delivery                      E-Mail
                   Mail                               Overnight Delivery


      1. Clerk, U.S. District Court

      2. Mark S. Williams
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         Attorneys for Defendant CNH Industrial America, LLC



                                           By:   /s/ Adam M. Shaw
                                                 Scott G. Gratton
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